                                                                          CLERK'
                                                                               S oyFlc: u.s.DIs1:coUr
                                                                                 ATROANOKE,VA
                  IN T H E U N ITED STATE S D ISTRICT CO U RT                        FILED
                  FO R TH E W E STE RN D ISTRICT O F W RGIN IA                  22T 1g 2218
                           H ARM SO N BU RG D IW SION
                                                                             JULIA ,D
U N ITE D STATE S O F AM R RICA,         )                                               66CY Skœ.



                                         ) CriminalActionNo.5:14-cr-51
V.                                       )
                                         )
M ICH AEL STER N BE EM AN                ) By:H on.M ichaelF.Urbansld
                                         )     ChiefUnited StatesDistrictJudge
                             M E M O RAN D U M O PIN IO N
       M ichaelSteven Beem an pled guiltyon O ctober6,2015 to avariety ofchargesrelated

to possession and ttansportadon ofchild pornography.O n April28,2017,he flled am odon

tovacate,setaside,orcorrectlaissentenceplzrsuantto 28U.S.C.j2255,taisingclnimsof
ineffecdve assistance ofcounsel.In response,thegovernm entSled a m odon forsum m ary

judgment.Thecout.theldanevidendaryheatingonOctober3,2018.Uponreview ofthe
record and forthezeasonssetforth hezein,thecout'tconcludesthatBeem an hasnotstated

 anymeritoriousclnim fotreliefunderj2255and thereforeGRANTStheUnitedStates'
m oton.

                                           A.

       Onlanuary21,2014,stateclnildpornogtaphychargeswerefiled againstBeem an
 followinghisindic% entbyagzandjuty jitdnginFrederickCounty,Virgtu
                                                                ''a.OnJuly15,
 2014,Beem an,reptesented by ChdstopherCollins,attended a prelim inary hearing during

wllich three Frederick County deputy shedffsand a civitian witnessteséfied aboutthe events

 sturouncling the seizure ofdevicesand the execudon ofa subsequentlyissued seatch w arrant

 onlanuary14,2014.Following theheadng,Collinsflled amodon to suppressevidencethat
w asallegedly seized in a m annervioladve oftheFolzt'th Am endm ent.ECF N o.103,at4-6.



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 OnNovembez12,2014,afedezalgrandjuryinCharlottesville,Vizgirziateturnedatwo-count
indic% entagainstBeeman,charginghim with (Count1)knowinglyttansportingvisual
 depicdonsofm inorsengaging in sexually explicitconductin violadon of18 U .S.C.

 j2252(a)(1)and22529$(1),and(Count2)knowinglypossessingvisualdepictionsofminors
 engaged in sexually explicitconduct,including atleastonedepicion ofam inotunder 12

yearsofageinvioladonof18U.S.C.j2252(a)(4)(B)and22529$(2).OnDecember4,2014,
 following the fedetalindic% ent,the Com m onwealth ofVitginia ftled am odon fordism issal

 by nolle rose lzi,which wasgtanted on Februaty 3,2015.Thè m odon to supptessfiled by

 Collinswasneverruled on in state court.O n D ecem ber 16,2014,Aaron Cook ftled anodce

 ofappearance ascounselforBeem an in the federalcase and on D ecem ber22,2014,Beem an

w asarraigned on the federalindictm ent.

       O n O ctober6,2015,a superseding inform adon wasflled and,shortly thereafter,

Beem an pled/1111 pursuanttothepleaagreementbeforeaUnitedStatesM agistrateludge,
w ho then issued areportand recom m endation.ECF N o.44.Beem an pled /.
                                                                      1111 to Counts

 1-5ofthesupersedinginformadon,wllichchargedhim asfollows:(Count1)knowingly
 transporéngchildpornogmphyinviolaéonofj2252(A)(a)(1)and2252(A)@ (1);(Counts2-
 4)knowinglypossessing thteem attetscontzningchild potnography,each ofwllichincluded
 atleastone disdnctdepicdonsitw olving am inorunder12 yeatsofagein violadon of

 j2252(A)(5)@)and22524$(2)9(Count5)knowinglypossessingaseparatemattercontaining
 clûldpornographyinvioladonofj2252(A)(5)@)and22529$(2).lZ Thereport
 recom m ended thatBeem an'splea ofgailty to Counts1-5 ofthe superseding inform adon be

 accepted asknowing and voluntarp J-I.
                                     L In theplea agreem ent,Beem an w aived hisdghtto

                                            2

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appealand waived lzisrightto collaterazy attack ordersissued in tlziscaseunlessflled on the

basisofineffecdveassistance ofcounsel.

      Theagreed-upon statem entoffactsin theplea agreem en: signed by b0th Beem an

and Cook,indicatesthatonlanuary14,2014,whilehospitnlimedatW inchestetMedical
Centerfora pedod ofseveraldaysfollowing a suicideattem pt,Beem an asked laisdog-w alker

to bling to him atthehospitalseveralelecttonic devices.The dog-walkerreported to the

FrederickCountySheriff'sOffker<FCSO'')thatwhiledtafdnganemailonBeeman'sbehalf
on one ofthese devices,he observed picturesdepicting naked minors.Thatsam e day,a

seatch warrantwasexecuted on Beem an'szesidencein W inchester,Vitgml
                                                                  ' 'a,resuldng in the

seizure of250 electronic devices,50 ofw hich contained depicdonsofchild pornography or

evidence thatchild pornography had previously been view ed otstored on the device.The

FCSO also uncovered a diskm an containing a 1-11-8 tapewith recorclingsBeem an had

produced showing him engaging in sexualactswith M inorA .Beem an aclm itted thatin the

1980s,whileem ployed by the United States AitForcein Florida,he developed apersonal

reladonship with M inorA,who wasoften leftin hiscare,custody,and conttol.Beem an

video-tecorded nllm erousoccasionsd'nting which he sexually abused M inorA .Beem an also

adrnitted to engaging in sim ilatconductwith two otherm inors,and to downloading child

Poznography from the online new sgroup TfEasyN ews.''

       On October27,2015,noéngthatBeeman had flled no objecdonstothemagistrate
judge'sreport,tlliscotutadoptedtherepott,therebyaccepdngthegml
                                                             'typlea.ECFNo.50.
'l'hecolzrtsentenced Beem an on April4,2016 to 360 m onthsim prisonm ent.O n A pril28,

2017,Beeman flled thej2255motion presentlybeforethecourt.Thevadousatgaments

                                             3

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com prising Beem an'sm oéon are based on a theozy ofineffecdve assistance ofcounsel.

Beeman contendsthatCookprovidedineffecdveassistance130thby (1)fnilingto ftle
modonstosuppressandfot(2)fa'
                           tlingtodiscussthesuppressionofevidencewithlnim T<it'l
any fashion''orprovide him with ffany infot-madon''pertaining to such m otions.ECF 114,

at11.A sa tesultofCook'sineffecdveassistance,Beem an allegesthathe did notm ake a

fully inform ed and intelligentdecision to plead guilty.ECF N o.102,at1,4.The governm ent

flledamodonforsllmmaryjudgmentinresponseonSeptember7,2017,arguing,among
otherthings,thatBeem an'sasserdon ofineffective assistance ofcounselisbaselessbecause

Cook'sfailtueto flle am odon to clism issw asffwholly reasonable''given thatitwould not

havebeenmeritoriousandbecauseBeemanfailedtoshow anyresuldngprejudice.ECFNo.
 111,at16.Thegoveznm entfurtherassertsthatBeem an'sclnim thathewould nothave pled

gut
  'ltyifproperly advised isTflikelybased solely,oratleastptim ntily,on dissadsfacdon wit.h

the sentencehereceived.''Id.at15-16.

       The cout.
               theld an evidendaryhearing on O ctober3,2018.Beem an tesdfied that

although Cook did in factbroach the possibility offlling suppression m odonsand aétazally

showedhim themoéon draftedbyCollins,heqtzicldydtopped thesubjectaftetCook stated
thathe saw no reason to ftle it.Beem an,however,stated thatCook did explain thataspart

ofthepleadeal,a concM on ofwllich w ashisnot61ing suppression m otbns,the

governm entagreed notto bdng producdon ofchild potnography and othercharges.Cook

also tesdhed atthe evidendary hearing.H e stated thathedid discussthepossibilityof61ing

m oionsto suppresswith hisclient,aswellasthe potendalramificadonsofnotaccepting the

governm ent'splea deal.Cook also teséûed thatbecause hedid notbelievetlaem odon to


                                             4
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suppressthephysicalevidencecollecteddllring thelanuary14,2014 searchwasaTfslam
dunk''hesoughtafavorablepleadeal.
                                           B.

       Fedetalprisoners,in custody,m ay collaterally attack thei.
                                                                rsentence orconvicdon by

movingthedistzictcourtfftovacate,setasideozcozrectthesentence.''28U.S.C.j2255(a).
Toobtainsuchrelief,apetdonermustprovebyapreponderanceoftheekidence(1)that
hissentenceor convicdon wasffim posed in violadon ofthe Constitudon orlawsofthe

UnitedStatesi''(2)thatffthecourtwaswithoutjlltisdictiontoimposesuchasentencei''or
(3)thatftthesentencewasitlexcessofthemaxim'lm authorizedbylaw,orisotherwise
subjecttocollateralattack.''ld.;Millerv.UnitedStates,261F.2d546,547(4thCit.1958).To
  antthegovernment'smodonforsllmmaryjudgment,thecouttmustSndthatfrthereisno
genuinedisputeastoanymaterialfact.''Fed.R.Civ.P.56(a).Thejudgeisnottoweighthe
evidencebutratherm ustdeterm ineifthereisagenuineissue forttial.A nderson v.Liberty

Lobb Inc.,477U.S.242,249(1986).A1levidenceshouldbeviewedinthelightmost
 favorableto thenonm oving party.PeriniCo .v.PedniConstr. Inc.,915F.2d 121,124

 (4th Cir.1990).ffgM herethezecordtaken asawholecould notlead aradonaltderoffactto
 fmdfotthenonmovingparty,disposidonbysummatyjudgmentisappropriate.''Teamstezs
JointCouncilNo.83v.Centra,Inc.,947F.2d115,119(4thCir.1991).
                                            C.

       The Sixth Am enclm entguaranteesa defendantthedghtto effecdve assistance of

counselinactiminalprosecudon.M cMannv.Richardson,397U.S.759,771n.14(1970).A
m edtoriousineffecdve assistance ofcounselclnim m ustdem onstratetwo things:fttstathat


                                            5
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counsel'sperfotm ancewasdefkient;and second,thatcounsel'sdeficientperfo= ance

ptejudicedthedefense.Stricldandv.W aslzington,466U.S.668,687(1984).To establishthe
ftrstprong,thedefendantmustshow ffthatcounselmadeerrorsso seriousthat(heorshe)
wasnotf'tmcdoning asthefcounsel'guaranteed gto)thedefendantby theSixth
Am endment.''J-i In otherwozds,apeddonermustshow thattherepresentadon hereceived

fellbelow anobjecdvestandardofreasonableness.JA at688.A court'sevaluadonof
counsel'sperfo= ance undertlaisstandard m ustbe fflaiglnly defetenial,''so asnotto

ffsecond-guess''theperfo= ance.Ldaat689.<f(A)cout'tmustindulgeastrongpresumpdon
thatcounsel'sconductfallswithin thewiderangeofreasonable professionalassistance;that

is,the defendantm ustovercom ethe presum pdon that,underthe citcum stances,the

challengedacdonmightbeconsideredsoundtrialstrategp''J.Z (internalquotadonmarks
and citaéon omitted).Addidonally,reviewing couttsstronglypreslzmethatonlyin ffreladvely
raresimadons''willaj2255modon establish that,fffin lightofallthecitclxmstances,the
idendhed actsorom issionsw ereoutside thewiderangeofpzofessionally com petent

assistance.'''Ticev.lohnson,647F.3d87,102(4thCir.2011)(quotingStdckland,466U.S.
at690).Asitisalltooeasyto challengean act,omission,orstrategy,onceithasproven
unsuccessful,ffeveryeffort(mustjbemadeto eliminatethedistortingeffectsofhindsight,to
teconsttuctthe circum stancesofcounsel'schallenged conduct,and to evaluate the conduct

 from counsel'sperspecéve atthe tim e.''Sttickland,466 U.S.at689.

       Accordingto theFourth Circuitatheffbasiclesson''ofStticklandisnotjustdeference
butlligh deference,and attorneysate pe= itted to Tfbe selecdveand strategicwithoutrisldng




                                            6
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anineffectiveassistanceofcounselclsb1
                                    'm.''UnitedStatesv.Mason,774F.3d824,830(4th
Cir.2014).In tlaecontextofgut
                            'ltypleas,theSuptemeCourtrecentlyrecognized:
           There are certnin differencesbetween inadequate assistanceof
           counselclaim sin caseswheretherew asa 6a11ttialon them edtsand
           those,like thisone,w hete apleaw asentered even before the
           ptosecudon decided upon allofthe chatges....O ndsightand
           second guessesarealso inappropriate,and often m ore so,wherea
           pleahasbeen enteted withouta fulltrialor,asin thiscase,even
           before the prosecudon decided on thecharges.The added
           uncertainty thatzesultswhen thereisno extended,fotvnalrecord
           and no actualllistory to show how the chatgeshaveplayed outat
           ttialworksar instthe party alleginginadequate assistance.Counsel,
           too,faced thatuncertainty.Thereisam ostsubstandalburden on
           the cbim antto show ineffecdve assistance.Thepleaptocessblings
           tothecriminaljusdcesystem astabilityandacertnitntythatmust
           notbeunderm ined by the prospectofcollateralchallengesin cases
           notonlyw herewitnessesand evidence havedisappeated,butalso
           in caseswherewitnessesand evidencewerenotpresented in the
           fustplace.

Ptemov.Moore,562U.S.115,132(2011).Premo addressedan ineffecdveassistanceof
counselclsim btoughtby a peddonerwho alleged thathispleacounselsholzld have sought

supptession ofaconfession,and emphasized thatffgplleabargninsatethetesultofcomplex
negotiadonssuffused with uncertainty,and defense attorneysm ustm ake catefulstrategic

choicesin balancing oppornlnidesand dsks.''Id.at116-17.The Colxttfilttherobsew ed that

an Tfattorney often hasinsightsborne ofpastdealingswith the sam eprosecutororcotzrt,and

the record attheprettialstageisneverasfullasitisaftertdal.''Id.at125.

      The second prong ofSttickland requiresapedtionerto ffafftrm advely prove

prejudice,''whichreqllitesashowing thatffthereisareasonableprobabilitythat,butfor
counsel'sunprofessionalerrors,theresultofthe proceeHingw ould havebeen different.''

Stticldand,466 U .S.at693-94.<TA zeasonable ptobabilityisaprobability sufâdentto


                                           7
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unde= ineconûdencein theoutcom e.''J.
                                    i at694.In otherwords,apeidonerm ustshow

 that,had counselnotm adetheaneged etrot,dfgtjhelikelihood ofadifferentrestzltmustbe
 substandal,notjustconceivable.''Hartingtonv.mchter,562U.S.86,112(2011)(citing
 Strickland,466U.S.at693-94)).In thecontextofcollateralchallengesto/1111 pleas,
Stticltland'sprejudiceinquiryisTtslightlymodifiedj''Fieldsy.Att' Gen.ofStateofMd.,956
F.2d1290,1297(4th Cir.1992)(quotingHooperv.Garraghty,845F.2d471,475(4thCir.
 1988)),and fffocuseson fwhethercounsel'sconstimdonallyineffecdveperfo= anceaffected
theoutcomeofthepleaprocessy'''Merzbachetv.Shentin,706F.3d356,363(4thCit.2013)
 (quodngHillv.Loclthart,474U.S.52,59(1985)),cert.denied,134S.Ct.71(2013),ttb-!g
 deaied,134 S.Ct.725 (2013)9seeUnitedStatesv.Akinsade,686F.3d248,253 (4th Cir.
2012)(cidng H1
             'll,474U.S.at59).Therefore,apeééonerfdmustshow thatthereisa
reasonableprobability that,butforcounsel'serrors,hewould nothavepleaded guiltyand

would haveinsisted on going to ttial.''H ill,474 U.S.at59.

                                                 C.

        fT here isno reason fora courtdeciding an ineffective assistance ofcounselclnim to

resolve bot.h com ponentsoftheinquiryiftlzedefendantm akesan insuffcientshowing on

 one.''Merzbacher,706F.3d.at363(quodngStdckland,466U.S.at697).In evaluadng
ineffecdve assistance ofcounselclnim safter agut
                                               'ltypleahasbeen enteted,statem entsm ade

 underoath atapleacolloquy afftm ing saésfacdon with counselare bincling on the

 defendant,unlessthe contrary evidenceisclearand convincing.Fields,956 F.2d at1299.In

 otherw ords,statem entsm adeby adefendantunderoath atthe pleahearing catrya ffstrong

 presum pdon ofvedty''and Tfconstitaztea fotm idablebarrierin any subsequentcollateral


                                             8
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pmceeclings.''Chtistianv.Ballard,792F.3d427,444(4thCir.
                                                      ),cert.deied,136S.Ct.342
 (2015)(ciéngandquodngBlackled ev.Allison,431U.S.63,74(1977)).Moreover,a
 peddonermaynotjustallegethathewouldhaveinsistedongoingtotdalabsentthealleged
ineffecdvenessbutalsomustconvincethecourtthatrejecdngthepleabargainwouldhave
 been radonalunderthe cito'm stances.Id.at452-53.A peddoner'sRself-serdng statem ents

 donotsaésfytheTprejudice'pzongunderStricldand.''Sasserv.Director Vir ''a
 Depar% entofCorrecdons,2017W L 3219508,*5 (W .D.Va.2017)(cidng Christian,792
 F.3d at452).
                                            D.

       BeemanfttstcontendsthatCookrenderedineffectiveassistanceofcounselby(1)not
 movingto suppressallevidenceseized from hisresidenceonlanuary14,2014.Heasset'ts
 thatCook also erred by (2)failingto apprisehim offactsandlaw suppoo ng such amodon.
 H ad Cook done so,Beem an clqim sthathewould nothavepled guilty.Beem an clnim sthat

 Cook wasineffecdve for fniling to flle am odon to suppressalong thelinesofthe one flled

 on N ovem ber14,2014,by ChristopherCollins,Beem an'scotm selin state coutt:

            Onlanuary14,2014,depudesatrivedatthedefendant'shome
            whereM t.Robertsonm eetgsicjthem outsideandshowed the
            depudesthe photo he found on theP ad.D epudesthen inquited
            whetherthetewerem oreelectronicdevicesin thehom e and M .   r.
            Robertson advised thatthere were.D epudes,withouta warrant,
            then entered the hom e and collected thoseitem swhich werehvo
            m ore ipads.

            D epudesthen took allelectronic devicesto lnvesigatorGalbreath
            oftheFrededck County Sheriff'sO ffk eforlnim to review the
            im ages.Based upon whatwasfound on the P ads,itw esdgator
            G albreath soughta search w arrantforthe defendant'sresidence.
            The m agisttateissued the seatch watrantand itwasexecuted on
            January14,2014.Thedefendantwasstillhospitalized atthetime.
                                            9
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 ECF No.102,at2.W ithrespecttothesearchitself,Beemanposits(1)thatthewartantto
 seatch laishom ew asdefecdvebecause theevidencewllich served asthe probable cause

 basisforitsissuancewasobtainedinvioladonoftheFourthAmenclmentoand (2)that
 therefore any devicescollected asarestzltofthe tainted warrantaresuppressible fraitofthe

 poisonoustree.Initsmodonforslxmmaryjudgment,thegovernmentroundlydisputes
 Beem an'scharacterizadon oftheeventsasdescribed abovein theN ovem ber 14 statecourt

 m odon and by Beem an him selfduting the O ctober3,2018 evidendaryhearing.M ore to the

 point,thegovernm entcontendsthatBeem an hasfailed to show thatCook'spetform ance

 wasdehcientorthathesufferedanyresuldngprejudice.
        In orderto resolveBeem an'sclnim ofineffecdve assistance ofcounsel,the colxl'
                                                                                    t

 need not,ofcourse,resolvetheFourth Am endm entclnim on them erits,butneed only

 dete= inewhethezCook'sdecision notto lidgate the m odon to suppresswasreasonable.

 Forthereasonsstated below,the courtconcludesthatitwas.Indeed,thetecord beforethe

 cotutdem onstratesthatnotfilitng am odon to suppressw aseminently reasonableunderthe

 circllm stances.The record also showsthatthe decision to plead gtul
                                                                   'tywithoutflling m odons

 to suppresswastzltim ately m adeby Beem an afterthorough discussionswith Cook about

 w hatm odonsthey could fllew eze he to choosenotto plead guilty.

                                                E.

        In orderto state a cognizableclnim forreliefforineffective assistance ofcounsel,

 Beeman mustftrstdemonstratethatCook'srepresentadon fellbelow an ffobjecdvestandard
 ofreasonableness.''Strickland,466 U.S.at686-87.The Suprem e Coùrthasaf6t-madvely

 stated thatthe fffailuzeto flle a suppression m otion doesnotconsdtazteperseineffecdve


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 assistance ofcounsely''K im m elm an,477 U.S.at384,and hasffrecognized thatsttategies

 devised afterextensively invesdgadng thelaw and factszelevantto any and allpzobable

 opdonsarevitttzallyunassailable.''Bellv.Evatq 72 F.3d 421,429(4th Cir.1995)9seealso
 Powellv.Kell,562F.3d656,670(4thCit.2009)(explniningthatTfoncecounselconductsa
 zeasonableinvesdgadon of1aw and factsin apaM culatcase,hisstrategic decisionsate

 fvitttzallyunchallengeable'and that.ffgtlacdcalorreasonableprofessionaljudgmentsatenot
 dehcientbuta failure to itw esdgatea m aterialm atterdue to inattendon m ay be defkient''

 (quodngStdckland,466U.S.at690))9Walkerv.UnitedStates,No.RW T-14-0536,2015WL
 4638069,at*2(D.M d.July312015)(unpublished)(explniningthatthereisnodehcient
 perform ancewherecounsel'sdeterm inadon notto lidgate am odon to suppresswas

 reasonable).Thereasonablenessofcounsel'sdecisionsandpetfot-manceffistobeevaluated
 from counsel'spetspecdve atthe tim eofthealleged errorand in lightofallcitclpm stances.''

 K im m elm an,477U .S.at385.Lastly,Tfcounsel'sabilityto m ake tacdcaldecisionsregatrling a

 m odon to suppressissuch thathe m ay conclude thatitisin thedefendant'sbestinterestnot

 to file am odon to suppresseven ifthatm odon ispotendally m eritorious.''M orrisv.United

 States,2008U.S.Dist.LEM S89332(S.D.W .Va.Oct.27,2008)(cidngMnt'finv.Maxe ,98
 F.3d 844,848 (5th Cir.1996)).
        Itisapparentfrom therecord thatitwasteasonable forCook notto file a m odon to

 suppressevidencecollected fzom Beeman'sresidenceonlanuary14,2014.Cook'stestimony
 indicatesthatpziorto advising Beem an to plead gut
                                                  'l1,Cook careflzlly considered the range

 ofopdonsavailableto hisclientand weighed therisksattendantto each.In O ctober2015,

 Beem an found him selfatwhatCook described asaTffork in theroad.''Thegovetnm enthad




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 (1)alreadySledasupersedinginformadonchargingBeemanwiththreeaddidonalcounts
 telated to possession ofchild pornography on top ofthe two countsbroughtin the odginal

 indictnentand (2)O eatened to bting addidonalchaqes.Cook explained thatBeeman was
 given an offetthatgave thecourtthe opdon ofa6o-m onth flooratsentencing,butthat

 prosecutorsm adeitclearthatifhe ptoceeded wit.h m odonsto suppzess,they would bring a

 superseding indic% entwith m oreseriouscharges.Cook recalled thatthe adclidonalcharges

 w1t.
    11wllich Beem an w asO eatened included producéon ofchild pornography and other

 chatgesrelated to ffactualabuse''ofm inors.Cook described these chargesasm uch m ore

 seriousand ascarrying very sipzificantsentences.U nlike thosechargesto w hich Beem an

 ultim ately pled gal
                    'lty,allbutoneofw hich catried no m andatoryrninim llm ,producdon of

 clûld potnography alonecarried a 15-yearm andatorym inim um with am nxim um sentenceof

 30 yeats.In the agreem entnegodated by Cook,only thettansportadon ofchild potnography

 carried am andatorym inim um of6o-m onths.Cook explained in llistestim ony thatthe

 prospectofthegovernm entbringing m ore chargesloom ed largein llisdiscussionswith

 Beem an and m ilitated strongly againstpursuing m odonsto suppress.Cook advised Beem an

 thatin pleyding guilty to only the possession and transportadon charges,hem aintained the

 opéon ofan fropen sentencing''where the cotutdecided the sentenceunencum bered by

 substandalm andatorym inim um s.In otherwords,the decision to forego Gling m oéonsto

 suppresswasintended to lim itBeem an'sexpostueto significantm andatory m inim um s,

 thereby preserving whatCook descdbed asa ffpretty low floor''forthe courtatsentencing.




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                                             Y.

       Thedecision notto flle m odonsto clismissw asallthem ote teasonable because Cook

 did notbelievethatany such m odon would besuccessful.In Sexton v.French,theFopxrtlz

 Circuitheld thatnotonly istheffdecision whetherto flle apre-ttialm oéon to suppress ...a

 classic tacticaldecision,''butthatcounselisin a Tffa.
                                                     tbetterposidon to assessthe

 medtoriousnessof...pre-tzialmodongs)tosuppress.''163F.3d874,885(4thCit.1998).
 Cook'stestim ony m akesclearthatheperfo= ed pzecisely such an assessm entin thiscase,

 ultimatelyconclue gthatinlkhtofthedrcllmstancessuttoundingthesearch,thebetter
 strategyw asto plead guiltyto avoid addidonalchargesand to preserve 130th laisability to ask

 the cotutfora sentence atthem andatory m itnim llm of60m onthsand the court'sdiscreéon

 to rendersuch a sentence.N otwithstanding hisadvising Beem an to plead gtul
                                                                           '1,Cook

 tesdhed thatheand Beem an discussed thepossibilityoffiling atleasttwo m odonsto

 suppzess.The ftrstpotendalm odon,which istheoneatissuein thism attet,itw olved the

 legalityofthelanuary14,2014 search ofBeeman'sresidenceresultingin theseizureof
 approxim ately 250 electronic devices.The second potendalm odon involved a statem ent

 Beem an m ade shortly afterhisarrest.Cook stated thatofthese two m odons,hebelieved the

 latterwasm oreviablethan the form ez.W ithoutwacling into the speciik teasonsCook gave

 in histestim ony forconcluding thata m oion to suppressthephysicalevidencew asthe

 weakerofthetwo,suffce itto say thatheappearsto have given theFollttln Am endm ent

 issueatissuein theJanuary14 search dueconsidetadon and conveyedllissenseofits
 likelihood ofsucceeding toBeeman.Inlkhtofllisdoubtsaboutwhethetamodon to
                                                                                    N
 suppresswould succeed and thesedousnessofthechargesO eatened by thegovernm entif



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 such a m odon wasftled,itwasreasonable fotCook to instead counselBeem an aboutthe

 plead agreem ent.

       Beem an'sclnim thatCook did notprovidehim with <fanyinfo= adon''zeladng to

 modonstosuppzessordiscussthesubjectwithhim Tfinanyfashion''iscontradictedbyboth
 hisow n testim ony and Cook'stestim ony.Beem an stated thatCook 130th showed him a copy

 ofthe m odon to suppressflled in state courtand expzessed hisopinion thatitwasnotw orth

 putsuing.Thatm orem eaningfuldiscussionsregarding the m eritsand dem eritsofthis

 m odon took placeisa factthatCook reaffitm ed m uldpleHm esin llistestim ony.M oreover,

 Beem an him selfstated thatheasked Cook a suffkientnum berofquesdonsdlnting theit

 m eedngs.Forlnispart,Cook recalled thathisclientwasinquisidve O oughouttheprocess,

 asked lotsofquesdons,and appeared to undezstand bot.h the potentialupside ofpleading

 /.
  1.
   111 and the factthatin doing so,hewould beprecluded from 61ing suppression m odons.

 EvenifthecourtwetenotoblkatedtoaffordsubstandaldeferencetoCook'sdecisionnot
 to file m oéonsto suppressorindulgea strong preslzm pdon thathisconductfellwithin the

 widerange ofreasonablepzofessionalassistance,the courtwould stillbe sadshed thathe

 provided effecdve assistance.

       In sum ,Beem an hasprovided no evidence thatCook'sfailute to Slem odonsto

 suppresswasbasedonanythingbesideshisreasonable,strategicjudgmentthatpturslxingthis
 cotusew ould redound to hisclient'sbenelk in tet'm softhe sentencehe would receive.The

 record establishesthatasplea negodadonswith pzosecutorsevolved,Cook began to renlize

 the benehtthatwould accrue to Beem an by pleacling guilty to thepossession and

 transportaéon chargesbeforeproducdon orotherabusechargeswerebrought.In advising



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 Beem an to plead gailty,Cook notonly ensured thattheproducdon shoewould nevetdtop,

 butalso thatthecouztwasnotbound by substandalm andatorym inim llm sduting

 sentencing.Thus,ratherthan perform ing dehciently,Cook,atBeem an'sbehestand with his

 info= edconsent,madeanobjecdvelyreasonable,tacdcaldecisionnottofllemodonsto
 suppzess.SeeGreenv.Nelson,595F.3d1245,1251(111 Cit.2010)(explniningthata
 decision notto ftlea m odon to supptessisa sttategicdecision,tathetthan the tesultof

 dehcientpetform ance,when itinvolvesaw eighing ofcom pedng positiveand negadve

 consequencesthatmay flow to thedefendantfrom apardculatchoice);seealso,Huddleston
 v.UnitedStates,No.3:11-cv-403,2012W L 5949469(S.D.W .Va.Aug.29,2012)(because
 defendantTfmadeanintelligentdecisionaboutwhetherornotto fkhtthechargesagninst
 him ...hispostfacto contendon thatcounselshould have putsued the suppression m odon

 isfrivolous').Beeman hasnotmethisffmostsubstandalburden''ofshowingdehcient
 perform anceunderStricldand.

                                            G.

       Forthe reasonsstated,the courtGRAN T S thegovernm entsm odon fozsum m aty

 judgment,ECF No.111,andDISM ISSESBeeman'smodon'tovacate,setasideorcotrect
 hissentenceputsuantto 28U.S.C.j2255,ECF No.102.BecauseBeemanhasfailed to
 makeasubstandalshowingofthedenialofaconsdmdonaldghtasrequired by28U.S.C.j
 2253(c)and Slackv.M cDaniel,529 U.S.473,484(2000),acetdficateofappealabilityis
 D E N IE D .
                                          Enteted: O ctober lJ' ,cela
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                                      /* 'cael-    .    a      .               .

                                          CltiefUnit tatesD' ctludge
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